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                         EXHIBIT 1




                                                                         UBSPO005
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From:                             Burt, Jason (DC)
Sent:                             Thursday, September 2, 2021 3:14 PM
To:                               Christopher Weldon; McLaughlin, Shannon (NY)
Cc:                               Clubok, Andrew (DC); McMahon, Sean (NY); Justin R Waytowich; Tomkowiak, Sarah
                                  (DC)
Subject:                          RE: Beecher Carlson Document Subpoena


Chris,

Thanks for the call. As we discussed, given Sentinel’s motion for protective order we understand that Beecher will not
begin its document production tomorrow. However, you confirmed that if the motion is denied, there would be no
need for a motion to compel against Beecher as you will begin the rolling production consistent with the subpoena and
an order denying the motion. If the motion is denied, we agreed to discuss the timing of the rolling production as soon
as possible to ensure there is no undue lag in the timing of the production. You also informed us that you are not aware
of any attorney-client privileged material among the 61,000 documents and did not expect there to be much, if any,
such privileged material, but stated that you had not yet reviewed the documents in depth. We stated that Sentinel had
never raised with us that the 61,000 documents might contain attorney client privileged information and that from
UBS’s perspective, Beecher could simply produce all 61,000 documents at once pursuant to the existing protective order
in the bankruptcy case. We also requested that you not put on hold your review of the documents during the pendency
of the motion but that you continue to work on it so that Beecher is prepared to make fulsome productions if/when the
motion is denied.

You also confirmed receipt of the New York subpoena duces tecum and stated that you would provide NY law that
provided that Beecher’s compliance with this subpoena would depend on what the Texas court ruled on Sentinel’s
motion for protective order. We asked that you provide this law so that we could evaluate since it was UBS’s position
that compliance with the NY subpoena duces tecum is independent of what the Texas bankruptcy court orders.

Best,
Jason




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